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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF COLORADO

Case No.:

l\/lARK R. NlCASTLE,
Plaintiff,

V.

ADAl\/lS COUNTY SHER|FF’S OFF|CE, and ,
SHER|FF DOUGLAS N. DARR, in his official and individual capacity.

…Defendants`. ' j

 

VER|F|ED COIV|PLA|NT AND JURY DEMAND

P|aintiff, l\/lark R. Nicastle (hereinafter “Sergeant Nicastle” or “Nicastle”), by and

through his undersigned attorney, brings this action and alleges as follows: -
lNTRODUCT|ON

1. This is an action for damages against the Adams County Sherriff’s
Department (hereinafter “the Department”) and Sheritf Douglas N. Darr (hereinafter
“Sheriff Darr” or “Darr”), (collectively “Defendants”) for violating Sergeant Nicastle’s
rights under the First Amendment of the Constitution, the Fourteenth Amendment of the
Constitution for conduct that is clearly against public policy and for injunctive relief.
Sergeant Nicastle alleges that Defendants violated his First and Fourteenth Amendment '
Rights When they retaliated against him by demoting him from Lieutenant to Sergeant
for the purpose of attempting to cripple his attempts to run for Sheriff in the 2010
election. ln addition, the conduct of the Defendants in demoting Sergeant Nicastle for

political purposes runs contrary to public policy of allowing those Who seek public office

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to do so in an unfettered manner. Defendants’ conduct under color of state law
proximately caused the deprivation of Sergeant Nicastle’s federally protected rights and
those provided to him under state law.

2. Sergeant Nicastle brings this action under 42 U.S.C. § 1983 for violation of
his civil rights and seeks compensatory damages, punitive damages and injunctive relief 1
against the Department as Well as Sheriff Darr, in both his individual and official
capacities Sergeant Nicastle also makes claims against the Defendants for violation of
public policy clearly established Within"the State of'Colorado and'an injunction.'

JUR|L|CT|ON & V§NU§

3. This action arises under the Constitution and laws of the United States
and 42 U.S.C. §1983. Jurisdiction is conferred on this Court pursuant to 28 U.S.C. §§
1331 and 1343. Jurisdiction supporting Sergeant Nicastle’s claim for attorney’s fees is
conferred by 42 U.S.C. § 1988.

4. Venue in the United States District Court is proper in that the action
complained of took place in the State of Colorado, Adams County, and all the parties
are residents of the state.

PART|ES

5. At all pertinent times mentioned herein, Sergeant Nicastle, Was and is a
citizen of the United States of America and a resident of Co|orado.

6. The Adams County Sheriff’s Office is an independent agency of Adams
County in the State of Co|orado.

7. At all pertinent times mentioned herein, the individual Sheriff Darr, in his

 

 

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official and individual capacities, was the duly elected Sheriff of the Adams County

Sheriff’s Office. At the time of Sergeant Nicastle’s improper demotion, Sheriff Darr

served as the sole decision maker as a result of his unilateral decision to amend the

Department’s policies and procedures as it relates to discipline against command staff.
FACTUAL ALLEGAT|ONS

8. Nicastle has been employed by the Department for over 30 years, and
was a Lieutenant from 1999 to 2008.

"9. " Nicastle was demoted from the rank of Lieutenant to Sergeant by the ~ ~
Department on July 16, 2008, for purported performance and conduct issues. The
demotion and related internal Affairs investigations were headed up and zealously
pursued by Darr. `

10. The background of events leading up to the demotion is informative as to
the reasons for Nicastle’s wrongful demotion and related violations of his civil rights. As
will be seen, Nicastle’s demotion was motivated by Darr’s political aspirations and his
quest to retaliate against Nicast|e.

11. ln 2002, Darr was running for the position of Sheriff in Adams County. At
that time Darr advised Nicastle that he was planning to run for Sheriff and asked for
Nicastle’s support. Nicastle did support Darr in his bid for Sheriff and Darr won the
election.

12. During his campaign, Darr utilized Department vehicles on paid
Department time to attend political/charity events. ln addition, Darr allowed others to

use their company vehicles to escort him to political appointments and introductions. lt

 

 

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was a general understanding that Department vehicles were being employed for their
intended purposes so long as the employees driving them were ready to respond at a
moment’s notice.

13. Darr campaigned at various charity events, including galas, golf
tournaments and luncheons through l\/letro North Chamber, C.A.S.A. Community Reach
and other entities.

14. During his first year in office as Sheriff, Darr hinted_to Nicastle that

' Nicastle was the choice candidate to'run for'Sheriff' as Darr’s successor once Darrrr '
completed his second term service as Sheriff. At the timethere was a term limit for
Sheriffs of two years. b

15. Later in 2003, and through 2006, the relationship between Darr and
Nicastle deteriorated for reasons that were not initially understood by Nicast|e. Nicastle
noticed that Darr would no longer make eye contact with him, showed non-verbal cues
that created distance between them and did not treat him as a trusted colleague and
frie'nd.

16. When Nicastle addressed the change in Darr’s attitude toward him, Darr
informed Nicastle that he needed to be “more rega|.”

17. Even though there were issues between the two men, upon Darr’s request
and in an effort to repair their strained relationship, Nicastle assisted Darr in getting
reelected as Sheriff in 2006.

18. ln October 2006, Nicastle was advised by Sergeant JJ Long, Sr., that Darr

was using Department vehicles to place campaign signs under the cover of night.

 

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Sergeant Long further advised Nicastle that various news media outlets were interested
in this information. Nicastle contacted Darr about this and asked him if it was true. Darr
denied it to Nicastle and later assured Undersheriff Siska and Captain l\/|clntosh that he
had not used Department vehicles to place campaign materials. Darr then contacted
Paula Woodward at 9News who had contacted Darr’s office and was interested in
speaking to Darr about his use of Department vehicles to place campaign signs. Darr
informed l\/_is. Woodward that if she could produce proof of this he would step down from
' his'campaign. At that time Woodward did not have such'proof. However, in

approximately 2008 l\/|artin Amarillas approached Nicastle and directed him to former
Deputy JJ. Long, Jr., who provided him with a DVD of Darr*placing campaign signs
using a Department vehicle in October 2006.

19. in November 2006, Darr was reelected as Sheriff with Nicastle’s
assistance

20. in December 2006; Nicastle approached Darr in the F.O.P. parking lot and
asked him why their relationship had deteriorated Nicastle asked him if it was because
Darr no longer supported Nicastle in his bid to succeed Darr as Sheriff, but was instead
supporting Roger Englesman (hereinafter “Engiesman"). Nicastle indicated to Darr that
he was still planning to run for Sheriff. A heated argument ensued after Darr repeatedly
denied that he was supporting Englesman as his successor for Sheriff. Later in that
conversation Darr finally admitted that he was supporting Englesman. At that time
Nicastle indicated that he did not have a problem with Darr supporting Englesman but

he requested that Darr refrain from taking any action that would wrongfully affect

 

 

 

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Nicastle’s career and bid for Sheriff. Nicastle feared that Darr would use his power and
position to do just this. k

21. On December 21, 2006, Nicastle suffered a heart attack that caused him
to miss approximately two weeks of work.

22. On|y three days after Nicastle returned to work in January 2007, and three

' weeks afterthe confrontation in the F.O.P. parking iot, Darr personally initiated an l.A.
investigation of Nicastle, purportedly based on his abuse of a Department vehicle and
' for political activities while on duty as well'as six additional charges of'which five Darr l
found Nicastle guilty (see below). Darr personally typed the l.A. investigation complaint
and appointed his good friend Captain Craig Coieman (hereinafter “Co|eman”) to- head
up the investigation.

23. The investigation began when Nicastle traveled to meet Pat l\/|oore, the
head of the Democratic Party, for lunch in a Department vehicle in January 2007. lt has
been a long-standing Department policy that use of Department vehicles in this manner
was aliowed, and Darr himself used his Department vehicle to attend countless political
events related to his bid for Sheriff. While Nicastle was at lunch with l\/ls. i\/loore, a
Democratic Party official loyal to Darr contacted Darr and advised him of Nicastle’s
whereabouts Upon learning of this information, Darr then immediately began a fishing
expedition to “uncover” any other charges that he could press against Nicastle.

24. During the 2007 l.A. investigation against Nicastle, Darr took further
retaliatory steps against Nicastle,

25. in or about February 2007, well before the completion of the l.A.

 

 

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investigation, Darr unilaterally and without due process administratively sanctioned
Nicast|e. Darr determined that Nicastle should no longer enjoy the privilege of a
Department vehicle and took Nicastle’s vehicle from him. Nicastle does not have a
Department vehicle to this day. Darr also ordered a change in Nicastle’s duties Darr
issued an administrative order/memorandum that unilaterally prohibited Nicastle from
serving off-duty at the airport, removed him from the l\/|etro North Leadership Advisory
Board and prohibited him from attending any otherAdams County Sheriff’s sponsored

' events while he was on duty. The Adams County sponsored events were nearly always
politically charged and/or provided campaigning opportunities Furthermore, Darr
encouraged Nicastle to attend such events with him while on duty during Darr’s
previous campaigns Nicastle’s removal from i\/letro North and exclusion from other
events (including political/charity events) gravely damaged his ability to promote himself
for Sheriff and hurt his reputation in the community. y Darr’s new policy (which applied
o_nl_y to Nicast|e) was despite the fact that Darr was attending those same events during
work hours.

26. Then, at a Fraterna| Order of Police (hereinafter “F.O.P.”) meeting in the
first quarter of 2007, Nicastle requested that the F.O.P. support him should he
determine to run for Sheriff in 2010, as Darr’s two-term limit would be expired. At that
time Darr stood up and advised all meeting attendees that he was working to change
the term limit laws and would be running for a third term. Uitimately Darr was able to
influence the process to allow for a three-term limit and he obtained the ability to run for

' a third term. Darr is currently running for reelection of Adams County Sheriff in 2010. lt

 

 

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should not be lost upon the Court that Englesman advised Nicastle that he planned to
run for Sheriff against him in 2010 if Darr was unable to run for a third term. Englesman
did not choose to run for Sheriff in 2010 due to Darr’s candidacy, however Darr did
appoint Englesman to be Undersheriff when Undersheriff Siska retired approximately
two months ago in February 2010.
27. ln or about April 2007, three months into Darr’s 2007 l.A. investigation

against Nicastle, Darr unilaterally changed Department policy, effective immediately, so

". that the Sheriff'(i.e. Darr) would determine the'gui|t and discipline for ali Department

l employees with a rank higher that sergeant This meant that because Nicastle was a

_ lieutenant Darr would be the “judge, jury and executioner” on the l.A. investigation that
he personally initiated and authored against Nicastle. After Darr changed the policy
Undersheriff Siska indicated to Darr that Nicastle should not be included in the policy
change for the l.A. investigation in light of the facts and events surrounding the
investigation However, Darr disregarded this and ensured that his new policy applied
to Nicastle’s ongoing l.A. investigation

28. The previous Department policy regarding l.A. processes at the time the

2007 l.A. investigation against Nicastle was that l.A. investigations were forwarded to
Department captains fortheir recommendations regarding guilt and punishment. Then
the recommendations were forwarded to the Undersheriff who would ensure
consistency in the captains’ recommendations and final disposition and punishment. if
a Department employee disputed the outcome, the employee would then appeal to the

Sheriff or an administrative board. This was a long-standing policy.

 

 

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29. When he finished his 2007 investigation, Coieman handed the l.A.
investigation results to Department captains and Undersheriff Pau| Siska (hereinafter
“Siska”) for their review and recommendations

30. When`Englesman reviewed Coieman’s l.A. investigation results,
Englesman recommended an unpaid suspension from employment that was
significantly more punitive than any of the other captains Undersheriff Siska
recommended four days’ of unpaid suspension. Al| captains except Englesman

' recommended that Nicastle was should'not be found guilty of the charge of
untruthfulness which essentially forced Darr to adopt that recommendation. it should
not be forgotten that Nicastle was in direct competition for the office of Sheriff with Darr
and his cohort Englesman.

31. Darr eventually ordered Nicastle to serve a seven-day unpaid suspension
from employment in relation to the 2007 |.A. investigation.

32. Nicastle chose not to appeal the trumped-up charges and the related j
discipline because his appeal would have gone directly to Darr, which would have been
futile because Darr had initiated the investigation, had found Nicastle guilty and then
had meted out the discipline. Further, Nicastle believed that Darr had exacted his
“pound of fiesh” and would no longer pursue and retaliate against Nicastle.

33. in August 2007, after the 2007 l.A. investigation and as a result of the
previously-referenced administrative order that prohibited Nicastle from attending any
other Adams County Sheriff’s sponsored events while he was on duty, Nicastle

requested vacation time off to attend the annual September Community Reach charity

 

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golf tournament. Nicastle’s supervisor, James Wiibourn (hereinafter “Wilbourn”),
approved the time off well before the event. Darr coordinated with event organizers
Belva Wiidman (hereinafter “l\/ls. Wiidman”) and Deb Hoigerson (hereinafter “l\/ls.
Hoigerson”) to volunteer for certain duties at the event. Then, less than 24 hours before
the event, Darr cancelled Nicastle’s vacation, citing his rule that Nicastle was not ‘
allowed to respresent Darr orthe department and charity/political events This not only
put even organizers in a bad position for filling Nicastle’s volunteer duties, but it
damaged his ability to promote himself for Sheriff and hurt his reputation in the '
community. Darr’s unreasonable actions also frustrated and angered i\/ls. Wiidman and
l\/ls. Hoigerson.

34. At the 2007 golf tournament, Darr made derogatory comments regarding
Nicastle’s conduct directly to l\/is Hoigerson. Darr advised l\/ls., Hoigerson that it was
Nicastle’s conduct that prevented him from attending the golf tournament. Darr further
discussed with i\/ls. Hoigerson specific details of his .2007 l.A. investigation against

Nicastle.

35. Nicastle was wrong in his belief that Darr would discontinue his retaliatory

behavior after the 2007 l.A. investigation

36. instead of backing off from his retaliatory behavior, Darr took even more
politically-motivated and unwarranted action against Nicastle,

37. in early 2008, Darr again unilaterally initiated an l.A. investigation against
Nicastie. This time it was purportedly because Nicastle had used a Department

computer for political and personal use, and had committed a violation of adherence to

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standards

38. in accordance with Department policy, Nicastle did use a Department
computer for the purpose of purchasing University of Colorado football tickets to watch
his son play in the band at a game. Nicastle also purchased a box of cigars online.
These events were the basis for the charges of using a computer for personal use.

39. Nicastle sent approximately three inconsequential emaiis, which were the
basis for the charges that Nicastle used his computer for political purposes He emailed

' F.O.P'. officials about setting'up a meeting, respond'ed‘to an email from 'his'radio-
controlled airplane club thanking them for their donation (at that'time Nicastle was a
candidate for the Colorado State General Assembly, District 30, as discussed below)
and emailed retired Detective Sherry Nevin to inform her of his plans on his days off.

40. Darr appointed Nicastle’s immediate supervisor Wiibourn'to complete the
l.A. investigation related to the 2008 charges against Nicastle. Even though Darr
brought charges against Nicastle of improper computer use, the long-standing written
Department policy was that employees could use Department computers so long as
their supervisors approved the use and laid out the terms of use. Nicastle’s supervisor
Wiibourn had, in fact approved the use of Department computers for personal use for up
to five hours per month and his investigation indicated as much.

41. Neverthe|ess, Englesman completed his own fact-finding mission after
receiving Wiibourn’s l.A. investigation report. Englesman contacted Wiibourn to “clarify”
the items in his report about computer use. Englesman asked Wiibourn if he specifically

granted Nicastle permission to purchase the C.U. tickets and the cigars Wiibourn

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indicated that he did not give specific permission for those items Based on this,
Englesman recommended that Nicastle receive 30 days’ unpaid suspension from
employment and also indicated that termination would not be unjustified.

42. Conversely, Undersheriff Siska recommended that Nicastle be exonerated
for the computer use charges and that he receive only verbal counseling for political
activities Siska acknowledged that Nicastle had engaged in some political activities but
that they were of no consequence and should not have been subject to sanctions

43; ' Ultimately, Darr recommended'three"days" of unpaid'suspension from
work and advised Nicastle that any appeals would be directly to Darr. Nicastle again
chose not to appeal the charges and the related discipline because his appeal would
have gone directly to Darr, which would have been futile because Darr had once again
initiated the investigation, had found Nicastle guilty and then had meted out the
discipline.

44. At the time of his 2008 discipline, Darr informed Nicastle verbally that he
was planning to pursue demotion against Nicastle.` He verbally provided Nicastle with
the reasons all of which were spurious in fact, Darr knew that demoting Nicastle would
further damage Nicastle’s bid to run for Sheriff.

45. On July 16, 2008, Darr did demote Nicastle from lieutenant to sergeant
Also about this time, in preparation for his run for Sheriff, Nicastle ran for a seat in the
State General Assembly, The process of the demotion as well as the demotion itself
caused significant difficulties for Sergeant Nicastle in the primary election and he was

ultimately defeated by a narrow margin The demotion was politically motivated, was

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based on allegations of misconduct that were unfounded, and was done in violation of
Nicastle’s rights as a public employee.

46. lt should be noted that on July 21, 2008, Darr drafted a l\/lemorandum that
he placed in Nicastle’s personnel file, in which he cited 2003, 2007 and 2008 l.'A.
investigations but also included several items that were not ever part of any l.A.
investigation and had never even been addressed in yearly performance reviews
Essentially, Darr went on another fishing expedition and included irrelevant and/or

' 'untrue'but potentially damaging information into'Nicastle’s*personnel file. Nicastle . '

never received this memorandum and inadvertently discovered it in the first quarter of
2010 when he was inspecting his personnel file for a totally separate reason

47. Between September 2007, when .Darr prohibited and prevented Nicastle
from attending the Community Reach golf tournament, and September.2009, Nicastle
did not attempt to attend any charity or political events via requesting vacation time
during work hours because he feared retaliation by Darr.

48. However, in September 2009,v Nicastle received an invitation to attend the
2009 Annual Community Reach charity golf tournament. Nicastle then properly
requested vacation leave over a month before the golf tournament so that he could
attend and his supervisor Lieutenant David Shipley (hereinafter “Shipley”) granted the
time off. Nicastle advised the tournament organizers that he would be attending the
event and could assist with volunteer activities

49. Despite taking all required steps, Darr again cancelled Nicastle’s vacation

less than 24 hours before the golf tournament This angered the organizers l\/ls.

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Wiidman and l\/ls Hoigerson, as it again left them without the number of planned
volunteers When Nicastle approached Darr about why he cancelled Nicastle’s
vacation, Darr cited his 2007 administrative orderthat applied only to Nicastle. Darr
advanced two reasons to Nicastle to support cancelling Nicastle’s vacation pursuant to.
Darr’s illegal administrative order: (1) Nicastle’s attendance was not permitted as there
would be a risk of confusion in that the general public might believe that Nicastle was
representing Darr or the Adams’s County Sheriff’s Department at the function; and (2)
Nicastle’s attendance would reflect negatively on the Department due to the poor
economy, as the general public would have'a negative view of the Sheriff’s Office if
Nicastle took vacation to attend the event. Clearly, Darr’s reasoning is nonsensical at
best as he generally attends the same events to which he has prevented Nicastle from
attending At the golf tournament Darr campaigned for his own 2010 bid for Sheriff with
the assistance of on-duty Sheriff’s employees

50. The day before the 2009 golf tournament, Darr placed telephone calls to
l\/ls. Wiidman and l\/ls Hoigerson and made derogatory comments regarding Nicastle’s
character and conduct to both women Darr advised both women that it was Nicastle’s
conduct that prevented him from attending the golf tournament. Darr further discussed
on the phone with l\/ls. Hoigerson specific details of his l.A. investigations against
Nicastle. Then at the tournament he approached l\/ls Wiidman and repeated many of
the comments he had made the day prior regarding Nicastle. l\/ls. Hoigerson overheard
Darr’s comments to l\/ls. Wiidman at the tournament causing her to remove herself from -

the area because Darr’s actions made her uncomfortable.

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51. After Nicastle challenged Darr on his actions, Darr took Shipley aside and
informed him that if Nicastle ever spoke to him “that way” again he would fire Nicastle.

52. At that point Shipley and Captain l\/lichael l\/lclntosh (hereinafter
“i\/iclntosh”) took Nicastle aside and told Nicastle that‘from that point forward Nicastle
would have to inform them of his exact vacation plans before he was granted any
vacation time. Darr, realizing that this would look bad for him, advised Shipley and
l\/lclntosh that they should cancel that policy and allow Nicastle’s requested vacation
time and that Darr would no'longer'cancel the vacation time. However, it was clearto
Nicastle that his job would be in danger if he dared to show up at any of the

charity/political events where Darr was attending even if Nicastle had approved
vacation._

53. in November 2009, l\/lsn.l Wiidman extended an invitation to Nicastle to
attend a C.A.S.A. fundraiser luncheon, which would have be a valuable event for
campaigning. Nicastle then emailed Darr and asked if attending would violate the
previous 2007- administrative order regarding his attending of events -(See Exhibit 1,
Emailfrom November17, 2009). Darr indicated that the previous administrative orders
were still in place, which meant that Nicastle should not attend . (See Exhibit 1, Email
from November 17, 2009). After the email exchange Nicastle chose not to attend the
luncheon because he feared the loss of hisjob.

54. in December 2009, Nicastle “officially” announced his intention to run for

Sheriff in Adams County in 2010, even though he had announced it repeatedly since

2007.

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55. Since that announcement, Nicastle has been invited to an upcoming
C.A.S.A. golf tournament to be held l\/lay 19, 2010. He has requested vacation time off
and believes that it will be approved. Elections for Sheriff are this coming November

and the tournament will be an invaluable opportunity for any candidate for Sheriff.

 

Unfortunately, Nicastle gravely fears for his job if he should choose to attend the event
or any other like it. Darr will be attending the event and campaigning for his bid for
Sheriff there and at other events Nicastle’s ability to attend the l\/lay 19, 2010, golf
tournament and otherfuture events withoutfacing retaliation orjobloss is the basis for "
the requested injunctive relief, which is alleged below and is addressed in a
contemporaneously-filed i\/lotion for injunctive Relief.

56. The demotion of Sergeant Nicastle from Sergeant to Lieutenant dated July
16, 2008, is the basis for Sergeant Nicastle’s retaliatory demotion claim.

57. Notice Pursuant to the Coiorado Governmental immunity Act, Colorado
Revised Statutes section 24-10-109, was sent via registered mail on December 18,
2008 and was received by the Adams County Attorney’s Office on December 22, 2008.
To date, no response to the Notice has been received by Nicastle.

58. As a result of the unlawful actions of the Defendants Nicastle has suffered
substantial injury in the form of lost earnings lost benefits loss of reputation
psychological and physical manifestations and significant financial injury.

59. As a result of the unlawful actions of the Defendants Nicastle has also

suffered a deprivation of his constitutional rights.

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FlRST CAUSE OF ACT|ON - 42 U.S.C. §1983 FlRST AMENDMENT V|OLAT|ON -
~ RETAL|AT|ON

60. Sergeant Nicastle hereby incorporates by reference all averments in this
Compiaint.

61. in seeking to run for office, Sergeant Nicastle was engaging in the
constitutionally protected activity of seeking public office protected by the First
Amendment to the Constitution.

62. The Defendants’ overtly and implicitly made intimidating and threatening
statements to Sergeant Nicastle due to Sergeant Nicastle’s exercise of his 7 7 n 7 7 7

constitutionally protected conduct.

63. l\/loreover, the Defendants made overtly and implicitly defamatory
comments about Sergeant Nicastle to others under circumstances implying that some
punishment, sanction or adverse action would imminently follow. n

64. The Defendants’ acts of intimidating, threatening, and unlawfully
demoting Sergeant Nicastle were motivated by Sergeant Nicastle’s exercise of
constitutionally protected conduct. k

65. Additionally, Sergeant Nicastle’s candidacy for Sheriff of Adams’ County is
“poiitical speech" that involves a matter of public concern

66. Sergeant Nicastle’s interest in expressing his candidacy for Adams’
County Sheriff outweighs the Defendants’ interest in regulating that political speech.

67. Sergeant Nicastle’s expression of his political speech was the substantial
factor driving Defendants’ decision to demote the Sergeant.

68. Defendants clearly would not have taken the same employment action of

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demoting Sergeant Nicastle if the Sergeant would not have run against Sheriff Darr.
69. Defendants’ actions caused Sergeant Nicastle to suffer injuries that would
chill a person of ordinary firmness from continuing to engage in such constitutionally

protected activity.

70. Defendants’ conduct violated clearly established rights belonging to
Sergeant Nicastle of which reasonable persons in Defendants’ position knew or should
have known

71. ' Defendants’ acts were done under color of state iaw.

72. Defendants engaged in the conduct described by this Compiaint
intentionally, knowingly, willfully, wantonly, maliciously, and in reckless disregard of
Sergeant Nicastle’s federally protected constitutional rights.

73. Defendants’ conduct proximately caused significant injuries damages and

losses to Sergeant Nicastle.

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74. Sergeant Nicastle hereby incorporates by reference all averments in this

Compiaint.

75. Sergeant Nicastle has a constitutionally protected property and/or liberty
interest arising from each term, actual or implied, of his employment or other contracts
with the Adams County Sheriff’s Office, as set forth in, or evidenced by, the parties’ acts

and words, the rules and policies of the Adams County Sheriff’s Office, and its policies

and procedures

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76. Defendants have violated Sergeant Nicastle’s property interest when
Sheriff Darr unilaterally amended the policies and procedures of the Adams County
Sheriff’s Office concerning disciplinary action on command staff in anticipation of
demoting Sergeant Nicastle for political purposes

77. The Defendants established policies and procedures in connection with
their demotion of the Sergeant Nicastle, which were more stringent against command
staff personnel, such as Sergeant Nicastle, than due process would othen/vise require.

' 78. Defendants deprived Sergeant Nicastle of his property arbitrarily, soas to
offend notions of fairness and due process in violation of the Colorado Constitution and
U.S. Constitution.

79. Defendants have also violated Sergeant.Nicastle’s property interest by
removing and/or altering Sergeant Nicastle’s status at the Adams’ County Sheriff’s
Department

80. Here, Sergeant Nicastle’s procedural due process claim is based on his
recognized property interest (i.e. his status) as a Lieutenant that was demoted to
Sergeant. Unfortunately, Sergeant Nicastle’s demotion left him with no adequate post
demotion remedies for his only remedy was to Sheriff Darr, the individual that ordered
the demotion himself. Accordingly, Sergeant Nicastle was deprived of his property
interest for he was without procedural protections under the Due Process Clause.

81. Finally, Defendants have violated Sergeant Nicastle’s liberty interest when
Sheriff Darr made statements that has impugned the good name, reputation honor,

and/or integrity of Sergeant Nicastle; the statements made by Sheriff Darr about

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Sergeant Nicastle were false; the statements that were published by Sheriff Darr were
to foreclose Sergeant Nicastle’ opportunity to become the Sheriff of Adams’ County.

82. Additionally, as alleged and set forth above, the actions of Sheriff Darr
has also imposed a stigma upon Sergeant Nicastle which has foreclosed his freedom to
take advantage of the employment opportunity of being the Sheriff of Adams’ County.
Such conduct by\Defendants has deprived Sergeant Nicastle of his property and liberty
interest which are protected interests under the Coiorado Constitution and U.S.
Constitution. "

THlRD CAUSE OF ACTlON - V|Ol;ATlON OF PUL.|C POL|CY
83. Sergeant Nicastle hereby incorporates by reference all averments in this
. Compiaint. n

84. The demotion of Sergeant Nicastle supports a cognizable employment
action because it contravened a clear mandate of public pollcy. See Martin Mariefta
Cor,o. v. Lorenz, 823 P.2d 100 (Colo. 1992) (supporting such a claim where “the
employee's performance of an act that public policy would encourage under
circumstances where retaliatory discharge is supported by evidence of employer's bad
faith, malice, or retaliation”).

85. As a direct and proximate result of such actions Sergeant Nicastle has
suffered damages and losses including, but not limited to, back pay, front pay, loss of
benefits and attendant aspects of employment, loss of reputation in his professional

and personal community, humiliation, mental anguish, and emotional distress

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FOURTH CAUSE OF ACT|ON - |NJUNCT|VE @lEF

86. Sergeant Nicastle hereby incorporates by reference all averments in this
Compiaint.

87. Sergeant Nicastle must be granted a preliminary injunction against Sheriff
Darr and the Department from preventing him for running for public office. in
furtherance of this activity, Sergeant Nicastle is seeking a preliminary injunction against
Sheriff Darr and the Department from prohibiting_Sergeant Nicastle from attending
political and charity functions while'on duty or'during vacation time, as Department
policy allows such attendance so long as employees are available for dispatch calls
Darr himself attends such functions while on duty, and there is a substantial likelihood
that Nicastle will prevail on the merits of his Compiaint.

88. Nicastle will suffer irreparable harm in the absence of the injunction

89. The threatened harm the threatened harm outweighs any damage the
injunction may cause'to the party opposing it. in fact, the only damage that may ensue
from an injunction would be to Darr’s crusade to prejudice Nicastle »in his bid to
campaign for Sheriff.

90. The injunction, if issued, will not be adverse to the public_interest. As
stated above, it will be against public policy got to grant an injunction

91. A i\/lotion for injunctive Relief is being filed contemporaneously herewith.

WHEREFORE, Sergeant Nicastle respectfully requests that this Court enter
judgment in his favor and against the Defendants and grant:

(a) Appropriate declaratory and other injunctive and/or equitable relief;

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(b) Compensatory and consequential damages, including damages for emotional
distress loss of reputation, humiliation, loss of enjoyment of life, and other pain and
suffering allowed by law in an amount to be determined at trial;

(c) All economic losses allowed by law;

(d) Punitive damages allowed by law and in an amount to be determined at trial;

(e) Attorney’s fees and the costs associated with this action, including those
associated with having to defend against the termination case;

'(f) Pre- and post-judgment interest at the lawful rate;

(g) Any further relief that this court deems just and proper, and any other relief
as allowed by law.

PLA|NT|FF REQUESTS A TR|AL TO A JURY ON ALL lSSUES SO TR|ABLE

Respectfully submitted this j day of April, 2010.

 

onald C. Sisson

 

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VER|F|CAT|ON AND ACKNOWLEDGEMENT
` |, l\/iark R. Nicastle, swear and affirm under oath that l have read the
foregoing Verified Compiaint and Jury Demand and that the statements set forth
therein are true and correct to the best of my knowledge

oateo this @day orApril, 2010.

   

. Nicastle, Signature

Subscribed and affirmed, or sworn to before me in the County of Dleng ,
store or lcoloro_o,o, this gibde orAprn, 2010.

 

 

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